          Case 24-12464-amc                          Doc          Filed 10/30/24 Entered 10/30/24 14:52:55          Desc Main
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bkf




      Fill in this information to identify the case:

       Debtor 1        Yesica Paola Delvalle

       Debtor 2
       United States Bankruptcy Court for the: Eastern District of Pennsylvania

       Case number :         24-12464-amc


Official Form 410S2
Notice of Postpetition Mor tgage Fees, Expenses, and Charges 12/16
If the debtor's plan provides for payment of postpetition contractual installments on your claim secured by a security interest in
the debtor's principal residence, you must use this form to give notice of any fees, expenses, and charges incurred after the
bankruptcy filing that you assert are recoverable against the debtor or against the debtor's principal residence.
File this form as a supplement to your proof of claim. See Bankruptcy Rule 3002.1.


      Name of               MCLP Asset Company, Inc.                                              Court claim no.                    4
      creditor:                                                                                   (if known):
      Last 4 digits of any number
      you use to identify the                                               5721
      debtor's account:
      Does this notice supplement a prior notice of postpetition fees,
      expenses, and charges?
            [X] No
            [ ] Yes. Date of the last notice.

  Part 1:         Itemize Postpetition Fees, Expenses, and Charges



 Itemize the fees, expenses, and charges incurred on the debtor's mortgage
 account after the petition was filed. Do not include any escrow account
 disbursements or any amounts previously itemized in a notice filed in this
 case. If the court has previously approved an amount, indicate that approval
 in parentheses after the date the amount was incurred.

        Description                                                                              Dates incurred             Amount

       Late Charges                                                                                                 $0.00
       Non-sufficient funds (NSF) fees                                                                              $0.00
       Attorney Fees                                                                                                $0.00
       Filing fees and court costs                                                                                  $0.00
       Bankruptcy/Proof of claim fees                                                        09/23/2024             $475.00
       Appraisal/Broker`s price opinion fees                                                                        $0.00
       Property Inspection Fees                                                                                     $0.00
       Tax Advances (Non-Escrow)                                                                                    $0.00
       Insurance Advances (Non-Escrow)                                                                              $0.00
       Property preservation expenses. Specify:                                                                     $0.00
       Other. Specify: Plan Review Fees                                                      08/08/2024             $475.00
       Other. Specify: 410A Fee                                                              09/23/2024             $250.00
       Other. Specify: Objection to Confirmation                                                                    $0.00
       Other. Specify:                                                                                              $0.00

The debtor or trustee may challenge whether the fees, expenses, and charges you listed are required to be paid.
See 11 U.S.C. § 1332(b)(5) and Bankruptcy Rule 3002.1.
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Debtor 1 Yesica Paola Delvalle                       ________               Case Number: 24-12464-amc
                First Name             Middle Name              Last Name




Part 2:          Sign Below

 The person completing this Notice must sign it. Sign and print your name and your title, if any, and state your address
 and telephone number.

Check the appropriate box:

[ ] I am the creditor.
[X] I am the creditor's attorney or authorized agent.

I declare under penalty of perjury that the information provided in this claim is true and correct to the best of
my knowledge, information, and reasonable belief.


    /s/Joshua I. Goldman                                                               Date
                                                                                               10/30/2024
    Signature



Print:                       Joshua I. Goldman                              Title Authorized Agent for Creditor

Company                      Padgett Law Group

Address                      6267 Old Water Oak Road, Suite 203

                             Tallahassee FL, 32312

Contact phone                (850) 422-2520                     Email        PLGinquiries@padgettlawgroup.com
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                                      IN THE UNITED STATES BANKRUPTCY COURT
                                         EASTERN DISTRICT OF PENNSYLVANIA
                                               PHILADELPHIA DIVISION

In Re;
 Yesica Paola Delvalle                                             Case No.: 24-12464-amc

Debtor(s)                                                          Chapter: 13

                                                  CERTIFICATE OF SERVICE


 I, hereby certify that on 10/30/2024, a true and correct copy of the foregoing document was served via United States Mail with ade-
                                quate prepaid postage and/or electronically via the Court’s ECF system:


Service by U.S. First Class Mail

Debtor
Yesica Paola Delvalle
2114 E Clearfield St
Philadelphia, PA 19134-3746

                          By Electronic Mail
Attorney for Debtor
MICHAEL A. CIBIK
Cibik Law, P.C.
1500 Walnut Street
Suite 900
Philadelphia, PA 19102

Trustee
SCOTT F. WATERMAN [Chapter 13]
Chapter 13 Trustee
2901 St. Lawrence Ave.
Suite 100
Reading, PA 19606

US Trustee
United States Trustee
Office of United States Trustee
Robert N.C. Nix Federal Building
900 Market Street
Suite 320
Philadelphia, PA 19107

                                                       /s/ Joshua I. Goldman
                                                         Joshua I. Goldman
